Case 1:13-cv-13086-JGD Document 38-2 Filed 07/15/15 Page1of2

Exhibit A
Case 1:13-cv-13086-JGD Document 38-2 Filed 07/15/15 Page 2 of 2

July 21, 2014

Dmitry Lev, Esq.

Law Offices of D. Lev, PC
134 Main Street
Watertown, MA 02472

Re: Simeon Niles v. Town of Wakefield, et al.
United States District Court No. 1:13-cy-13086-GAO

Dear Attorney Lev:

Enclosed please find the following documents with regard to the above-referenced

matter.
l. Defendants’ First Requests for Production of Documents to the Plaintiff, Simeon
Niles;
2, Defendants’ First Set of Interrogatories to be Answered by the Plaintiff, Simeon
Niles; and
3. Certificates of Service.
If you should have any questions, please do not hesitate to call me.
Very truly yours,
Chantelle M. D'Angelo
CMD/tap
Enc.

13 TRI 109
